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UNITED sTATEs DISTRICT coURT .J’.<..t
FOR THE wEsTERN DIsTRIcT oF TENNESSE
wEsTERN DIvIsION %o$AUG |2 AH|O=Z£,
UNITED sTATEs 0F AMERICA, *
Plaintiff, *
vs. * Cr. No. 04cr20270-D

ANDRES RAYO -MALDONADO ,

Defendant.

DEFENDANT’S U'N'OPPOSED MOTION TO CONTIN'U'E
SENTENCING HEARING

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COMES NOW the defendant Andres Rayo-Maldonado, by and through
undersigned counsel, and respectfully requests this Honorable Court

to continue his Sentencing hearing, currently scheduled for August

12, 2005 at 2:00 p.m. In support thereof, undersigned counsel

states that unexpectedly he has to take sick leave because his son

is ill and requires medical attention. The government has no

objection. Additionally, counsel will not be available next week

Tuesday due to sick leave.

MOT|ON GRANTED

   
     

ERN|CE BOUlE DONALD
U.S. D§STR!CT JUDGE

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WHEREFORE, defendant Andres Rayo“Malonado, respectfully moves

this Honorable Court to continue the sentencing hearing.

Respectfully submitted,

J. Pattan srown, III

Assistant Federal Defender

200 Jefferson Avenue, Suite 200
Memphis, TN 38103

(901) 544-3895

CERTIFICATE OF SERVICE
This is to certify that a copy of the foregoing Motion has
been forwarded to Mrs. Linda Harris, Assistant U.S. Attorney, 167

N. Main, suite 800, Memphis, TN 38103, this 12nd day of August,

J. Patten Brown, III V \J
Assistant Federal Defender

2005.

   

UNITED sATE DSTIIC COURT - WESTER DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20270 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
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200 Jefferson7 Suite 200
Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

